Case 24-15203-MBK Doc 22 Filed 06/12/24 Entered 06/12/24 22:05:34 Desc Main
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Company Name: Coastal Conchvuchen Gime LLL
Profit and Loss Statement
For me Month Agil “ended AV Zana Whee

| Time Period | |
Revenues
Revenue from Primary Activites 345 QOD
(Less Returns and Allowances) '
Total Revenue “244 6 COO
Costs tt =
‘| Cost of Revenue 454, ( x 2 )
a T _
[GROSS PROFIT | — TZenO
Operating Expenses
Gencral and Administrative BOO
Insurance LL o(5e
Non Recurring ,
Payroll Taxes
Rent 2450
Research and Development :
Salaries and Wages ¥4
Sales and Marketing
Utilities
Other
Total Operating Expenses r
[OPERATING INCOME "La ARO
+T
Non-Operating or Other C_
Interest Revenue
(Interest Expense)

Gain/(Loss) on Sale of Assets

Gain/(Loss) from Legal Action

(Depreciation and Amortization)

Other Gain

(Other Loss)

Total Non-Operating or Other

Discontinued Operations

Gain/(Loss)

Extraordinary ltems

Gain/(Loss)

[PRE-TAX INCOME

Taxes

Income Tax Expense

[NET INCOME —A7. mr
po
